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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA           *
                                   *
     v.                            *      CRIMINAL NO. 23-cr-257 (TSC)
                                   *
DONALD J. TRUMP,                   *
                                   *
          Defendant.               *
                                   *


                   GOVERNMENT APPENDIX VOL. III
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